a1/25/2007 GASH 1:05 G7-Bk84—3gCH Document Réar8 coed OAees/O7 Page lofhyg aivic

Attachment A

CURRICULUM VITAE

Anthony C. Harris, Forensic Chemist

U.S. Department of Justice
Drug Enforcement Administration
North Central Laboratory
536 S. Clark Street - Room 800
Chicago, Illinois 60605
(312) 353-3640

EDUCATION

Bachelor of Science Degree in Chemistry from the University of Illinois at
Chicago- August 1994

TRAINING

DEA Basic Training Program for Forensic Drug Chemist at the North
Central Laboratory in Chicago ~ July [999

DEA Basic Forensic: Chemist School No. 9 at the Justice Training Center
in Quantico, Virginia - August 1999

DEA Clandestine Laboratory Certification Training, Investigation and
Safety School in Quantico, Virginia - August 1999

EMPLOYMENT

August 1998 — Present
Drug Enforcement Administration
North Central Laboratory, Chicago Illinois
: Position: Forensic Chemist

July 1990 — June 1998
USDA Science and Technology Division
3570 N. Avondale, Chicago, Illinois
Position 7/90 to 2/95: Physical Science Technician
Position 3/95 to 6/98: Chemist

